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  8
  9                               UNITED STATES DISTRICT COURT
 10                             CENTRAL DISTRICT OF CALIFORNIA
 11
 12
    PARAMOUNT PICTURES                                  Case No. 2:21-cv-06975
 13 CORPORATION, a Delaware
    corporation,                                        COMPLAINT FOR:
 14
                 Plaintiff,                             BREACH OF CONTRACT AND
 15
          vs.                                           BREACH OF THE IMPLIED
 16                                                     COVENANT OF GOOD FAITH
 17 FEDERAL INSURANCE COMPANY,                          AND FAIR DEALING
    an Indiana corporation,
 18                                                     DEMAND FOR JURY TRIAL
                 Defendant.
 19
 20              Plaintiff Paramount Pictures Corp. (“Paramount”) complains of defendant
 21 Federal Insurance Company (“Federal”) and alleges as follows:
 22                        NATURE OF THIS LAWSUIT
 23              1.       Federal sold Paramount a Production Package Policy designed to insure
 24 Paramount against losses resulting from delays and interruptions of the production
 25 of the motion picture Mission Impossible 7. Recognizing the significant expenses
 26 (and concomitant risk) incurred in the production of major motion pictures, Federal
 27 agreed to and issued a policy that would pay up to a limit that exceeded
 28 $100,000,000 in connection with each single loss.

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  1              2.       The production was delayed for various reasons, including the threat
  2 posed to covered persons by SARS-CoV-2 and COVID-19, the orders of civil
  3 authorities restricting or preventing the production from continuing as planned, and
  4 Paramount’s efforts to reduce or prevent losses that otherwise would be insured
  5 under the policy. As a result of those delays in production, Paramount incurred
  6 significant losses, which are insured under multiple coverages in the policy.
  7              3.       Paramount’s losses are well within the limits of the policy (indeed,
  8 Paramount’s aggregate losses are well within the $100+ million limit for each single
  9 loss). However, when Paramount sought payment for the full amount of its insured
 10 losses under the policy, Federal refused. Federal arbitrarily categorized several of
 11 Paramount’s losses as subject to only one limited category of coverage (which
 12 provided for coverage of just $1 million in connection with each single loss), and
 13 unjustifiably refused to cover other losses altogether. Ultimately, Federal paid only
 14 a small portion of Paramount’s losses, denying coverage for the majority of them.
 15 By doing so, Federal breached the parties’ contract. Furthermore, Federal acted
 16 unreasonably, choosing to favor its interests over those of its insured, tortiously
 17 breaching the implied covenant of good faith and fair dealing. Paramount is entitled
 18 to damages for these breaches plus punitive damages.
 19                                   JURISDICTION AND VENUE
 20              4.       This Court has subject matter jurisdiction under 28 U.S.C. section 1332
 21 based on complete diversity of citizenship between the parties and because the
 22 amount in controversy, exclusive of costs and interest, exceeds $75,000.
 23              5.       This Court has personal jurisdiction over Federal because Federal
 24 conducts business in the County of Los Angeles.
 25              6.       Venue is proper in the Central District of California pursuant to 28
 26 U.S.C. section 1391 because a substantial part of the events or omissions giving rise
 27 to Paramount’s losses occurred in this District and because, as the policy states,
 28
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  1 Federal’s “Producing Office” is in Los Angeles and the insurance broker is in
  2 Culver City.
  3                                            THE PARTIES
  4              7.       Paramount is a Delaware corporation whose principal place of business
  5 is in Los Angeles, CA. Paramount is a studio, production company, and distributor
  6 of film and television productions. Paramount is the studio behind the motion
  7 picture Mission Impossible 7, the seventh installment in the popular franchise.
  8              8.       Federal is an Indiana corporation whose principal place of business is
  9 in New Jersey. Paramount is informed and believes, and on that basis alleges, that
 10 at all times material hereto, Federal was licensed to transact, and did transact,
 11 business in California and in this District. Federal issued the policy through its Los
 12 Angeles office.
 13              9.       Paramount is informed and believes, and on that basis alleges, that
 14 Federal is part of the Chubb group of insurance companies. Chubb Limited is the
 15 ultimate parent of Chubb and the other insurance companies that are part of the
 16 Chubb Group of Insurance Companies (for convenience, Chubb and the other
 17 Chubb companies hereinafter collectively are referred to as “Chubb”).
 18              10.      Chubb makes statements and representations on behalf of Federal and
 19 its other member companies on its website.1 Chubb uses its website to market its
 20 insurance products; represent the nature of its insurance products, policy
 21 underwriting, and claims handling; and represent the quality of insurance and
 22 services its customers will get if they do business with it.
 23              11.      Chubb has long represented to the public and to its customers,
 24 including Paramount, that it has special expertise in providing insurance to
 25 companies and individuals in the entertainment industry. For example, touting its
 26 experience in the entertainment industry, Chubb states as follows on its website:
 27
 28   1
          https://www.chubb.com/us-en/home.html.
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  1                       With more than 50 years of experience in the
  2                       entertainment industry, we understand the challenges and
  3                       opportunities shaping the future, and we use our deep
  4                       expertise, specialized products and services, and strong
  5                       claims capabilities to help protect your businesses,
  6                       regardless of its size.2
  7              12.      Under the title “We know entertainment,” Chubb states:
  8                       We understand the changes happening in your industry
  9                       and put our specialized knowledge to work for you, with
 10                       products and services tailored to address the unique needs
 11                       of entertainment businesses like yours.3
 12              13.      On its website, Chubb poses the question: “How is Chubb, different?”
 13 It answers as follows:
 14                       We don’t just process claims, we make things right. We
 15                       hope you never need to file a claim with us. But if you do,
 16                       that’s our opportunity to show you what “craftsmanship”
 17                       means in service to you. It means Chubb people working
 18                       with empathy, integrity, and our legendary attention to
 19                       detail to make you whole. It means we honor the
 20                       promises we’ve made to you. Your loved ones, your
 21                       employees, your home, your business reputation—these
 22                       things matter. These things are personal, for you and for
 23                       us.
 24                       We’re here to help.4
 25
 26   2
      https://www.chubb.com/us-en/campaign/pacific-campaign/pacific-tech/rediscover-
 27 entertainment/index.html.
    3
      Id.
 28 4 https://www.chubb.com/us-en/claims/claims-difference.aspx (emphasis added).
                                           4
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  1              14.      Chubb understands that because of the pandemic and subsequent
  2 orders, businesses, including Paramount, had to take steps to mitigate or reduce
  3 losses. As Chubb publicly stated on its website:
  4                       Our hearts go out to those affected by the COVID-19
  5                       pandemic. We have been – and stand ready to continue –
  6                       supporting our clients, distribution partners and
  7                       communities.5
  8              15.      Chubb also has represented, and represents to the public:
  9                       “Unprecedented events require unprecedented service”
 10                       For over 200 years, we have worked hand-in-hand with
 11                       our clients to help them rebuild – it’s in our DNA. In
 12                       response to the COVID-19 pandemic, we have created
 13                       several programs to support our clients and the
 14                       communities where they live.6
 15              16.      Chubb further represents:
 16                       “Our commitment to clients”
 17                       We stand with our clients as partners in their business. In
 18                       2019 alone, we received 3.6 million new claims and made
 19                       more than $18.3 billion in claims payments. And, as the
 20                       world changes – and new and never-before-seen threats
 21                       emerge – Chubb takes pride in our continuing
 22                       commitment to our clients.7
 23              17.      Indeed, Chubb itself has undertaken steps in connection with its in-
 24 person events to protect against the spread of SARS-CoV-2 and COVID-19:
 25
 26
      5
 27   https://www.chubb.com/microsites/covid19-resource-center/index.html.
      6
      https://www.chubb.com/microsites/covid19-resource-center/doing-our-part.html.
 28 7 Id.
                                           5
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  1                       During the first quarter of 2020, worldwide social and
  2                       economic activity became severely impacted by the spread
  3                       and threat of COVID-19. We have taken actions to
  4                       minimize risk to our employees, including restricting
  5                       travel and instituting extensive work-from-home
  6                       protocols.8
  7                 FEDERAL’S KNOWLEDGE OF THE RISK OF A PANDEMIC
  8              18.      Federal and other insurers were repeatedly warned over the years of the
  9 potential impact of pandemics. In fact, in the months and years before the outbreak
 10 of the COVID-19 pandemic, there were many publicly available reports about the
 11 risks of pandemics and what insurers should do. For example, in March 2018, one
 12 insurance industry publication cautioned:
 13                       Even with today’s technology, a modern severe pandemic
 14                       would cause substantive direct financial losses to the
 15                       insurance community. In addition, indirect losses would
 16                       be severe, most notably on the asset side of the balance
 17                       sheet.9
 18              19.      One insurance industry repository shows the “tip of the iceberg” about
 19 how much information was available to insurers on the risk of pandemics. The
 20 Insurance Library Association of Boston, founded in 1887, describes itself as “the
 21 leading resource for and provider of literature, information services, and quality
 22 professional education for the insurance industry and related interests.10 The
 23 Association states on its website:
 24
      8
 25   https://s1.q4cdn.com/677769242/files/doc_financials/2020/q1/Chubb-Limited-1Q-
    2020-Form-10-Q.pdf.
 26 9 What the 1918 Flu Pandemic Can Teach Today’s Insurers, AIR (Mar. 29, 2018),
 27 https://www.air-worldwide.com/publications/air-currents/2018/What-the-1918-Flu-
    Pandemic-Can-Teach-Today-s-Insurers/.
 28 10 http://insurancelibrary.org/about-us/.
                                              6
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  1                       The past 20 years [have] seen the rise of a number of
  2                       pandemics. Slate recently published an article on what has
  3                       been learned about treating them in that time. We thought
  4                       it might be apt for us to take a look back and see what the
  5                       insurance industry has learned as well.11
  6 The Association then lists more than 20 articles, reports, and white papers published
  7 since at least 2007, long before Federal sold Paramount the policy at issue here.
  8              20.      One white paper warned as early as 2009 of a pandemic’s potential
  9 consequences for the insurance industry:
 10                       It is highly unlikely that the insurance industry would have
 11                       the financial reserves to meet the worldwide claims arising
 12                       out of a pandemic of this size.12
 13              21.      Thus, Federal has known, or should have known, for years that its
 14 policies would be called on to pay perhaps hundreds of millions of dollars or more
 15 to its insureds and, more specifically, knows that it could be obligated under its
 16 policies to pay tens of millions of dollars to Paramount for losses associated with
 17 viruses and pandemics.
 18              22.      Given the potential liability that insurers, including Federal, faced
 19 under their policies for losses from pandemics shortly after the outbreak of SARS in
 20 2003, the insurance industry drafted exclusions applicable to losses from viruses and
 21 bacteria.
 22              23.      On July 6, 2006, the Insurance Services Office (“ISO”), the insurance
 23 industry’s drafting organization, prepared a circular that included a standard
 24 exclusion of loss due to viruses and bacteria as part of its filing with state insurance
 25
 26   11
      http://insurancelibrary.org/pandemics-and-insurance/.
      12
 27   Allan Manning, White Paper on Infectious Disease Cover (updated 2009),
    http://www.lmigroup.com/Documents/Articles/White%20Paper%20on%20Infectiou
 28 s%20Disease%20Cover.pdf?mc_cid=f0cee24803&mc_eid=41023ebc2c.
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  1 regulators.13 In that circular, it noted that examples of “viral and bacterial
  2 contaminants are rotavirus, SARS, [and] influenza,” observing that “[t]he universe
  3 of disease-causing organisms is always in evolution.”14
  4              24.      In fact, ISO expressly warned that “the specter of pandemic or hitherto
  5 unorthodox transmission of infectious material raises the concern that insurers
  6 employing [property] policies may face claims in which there are efforts to expand
  7 coverage and create sources of recovery for such losses, contrary to policy intent.”15
  8 ISO introduced a standard-form exclusion entitled “Exclusion Of Loss Due to Virus
  9 or Bacteria” (Form CP 01 40 07 06 and, in certain jurisdictions, Form CP 01 75 07
 10 06).
 11              25.      Since then, many insurers, including Chubb, have included virus and
 12 pandemic exclusions in many of their insurance policies in an attempt to minimize
 13 the amounts they could have to pay for losses associated with viruses and
 14 pandemics.
 15              26.      Thus, since at least 2006, Federal could have used a “virus or bacteria”
 16 exclusion approved for use throughout the United States. As one recent article
 17 succinctly stated, “Insurers knew the damage a viral pandemic could wreak on
 18 businesses. So they excluded coverage.”16
 19
      13
 20      “ISO is a nonprofit trade association that provides rating, statistical, and actuarial
      policy forms and related drafting services to approximately 3,000 nationwide
 21   property or casualty insurers. Policy forms developed by ISO are approved by its
 22   constituent insurance carriers and then submitted to state agencies for review. Most
      carriers use the basic ISO forms, at least as the starting point for their general
 23   liability policies.” Montrose Chem. Corp. v. Admiral Ins. Co., 10 Cal. 4th 645,671
 24   n.13 (1995); see also ISO Circular, “New Endorsements Filed to Address Exclusion
      of Loss Due to Virus or Bacteria,” (July 6, 2006),
 25   https://www.propertyinsurancecoveragelaw.com/files/2020/03/ISO-Circular-LI-CF-
 26   2006-175-Virus.pdf.
      14
         Id.
 27   15
         Id.
      16
 28      Todd Frankel, Insurers knew the damage a viral pandemic could wreak on
                                                       8
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  1              27.      However, even though Federal was aware of the massive losses that its
  2 insureds, including Paramount, could face from a virus-related pandemic, it sold
  3 Paramount the policy at issue without a virus, pandemic, or any other potentially
  4 applicable exclusion.
  5                                             THE POLICY
  6              28.      Motion picture studios and production companies typically buy
  7 production insurance policies that provide broad coverage to the insureds from a
  8 wide range of losses that they may incur if productions are disrupted.
  9              29.      Federal sold Paramount Inland Marine Insurance Policy No. 7997-43-
 10 91 (the “Policy”) for the stated period of September 3, 2019, to December 31, 2021.
 11 The Policy contains a Production Package Policy Form designed to protect
 12 Paramount from losses incurred from delays and disruptions in the production of the
 13 motion picture Mission Impossible 7.
 14              30.      The Policy provides multiple coverages designed to protect Paramount.
 15 The coverages include $100,000,000 in Cast coverage, $1,000,000 in Civil
 16 Authority coverage, and $1,000,000 in Delay Beyond Control coverage. These
 17 limits of liability apply separately to “any one loss, any one declared production.”
 18 Policy, Conditions § III.
 19              31.      The Policy contains a “Due Diligence Clause.” This clause states:
 20                       You shall use due diligence and do and concur in doing all
 21                       things reasonably practicable to avoid or diminish any loss
 22                       or any circumstance likely to give rise to a loss or claim
 23                       insured under this policy. It is agreed that this policy
 24                       extends to indemni[f]y You for Your loss and/or additional
 25                       expenses and/or increased costs incurred by You to avoid
 26
 27 businesses. So they excluded coverage, WASH. POST (Apr. 2, 2020),
    https://www.washingtonpost.com/business/2020/04/02/insurers-knew-damage-viral-
 28 pandemic-could-wreak-businesses-so-they-excluded-coverage/.
                                            9
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   1                       or diminish any such loss or claim, subject to any
   2                       Deductible stated on the COVERAGE SCHEDULE,
   3                       provided, however, that in no circumstance shall Our
   4                       maximum liability under this policy be greater than the
   5                       increased costs and/or additional expenses incurred, or in
   6                       any event exceed the limits of liability of this policy.
   7 Id., Conditions § VI.F.
   8              32.      The Policy also contains a Loss Procedure condition stating that
   9 Paramount shall “[p]rotect the property from further loss and take all reasonable
  10 steps possible to minimize the loss.” The Policy further states that “[i]f expenses are
  11 incurred in doing so, they shall be borne by [Federal].” Id., Conditions § VI.M.1.
  12              33.      Under the Cast coverage, Federal agreed to pay for “loss” that
  13 Paramount
  14                       directly and solely sustain[s] by reason of any covered
  15                       person(s) in connection with an insured production, being
  16                       necessarily prevented by their death, injury, sickness or
  17                       kidnapping . . . from commencing or continuing or
  18                       completing their respective duties in an insured production.
  19 Id., Cast Coverage § I.A.
  20              34.      “Covered person” means “any artist, director, producer, animal,
  21 animator, special effects or camera personnel or any other individual You deem to
  22 be necessary to complete the production.” Id., Conditions § VII.A.
  23              35.      The Cast coverage defines “loss” as
  24                       any extra expenditure [Paramount] incur[s] in completing
  25                       an insured production over and above the expenditure
  26                       which, but for the happening of any one or more of the
  27                       occurrences specified in Paragraph I. INSURING
  28
                                                         10
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   1                       AGREEMENT above, would have been incurred in
   2                       completing said production.
   3 Id., Cast Coverage § VI.1.
   4              36.      The Cast coverage includes “loss . . . directly resulting from the
   5 unavailability of a covered person(s) due to . . . [d]elays resulting from the threat of
   6 bodily injury.” Id., Cast Coverage § I.B.2.
   7              37.      The Cast coverage also insures “actual loss [Paramount] incur[s] due to
   8 the actual or potential impairment of an insured production caused by or resulting
   9 from a crisis event that . . . results in the immediate suspension of production.” Id.,
  10 Cast Coverage § I.C.2.
  11              38.      The Extra Expense coverage extends coverage to insure losses resulting
  12 from the actions of a Civil Authority and delays caused by acts beyond Paramount’s
  13 control.
  14              39.      Under the Civil Authority extension of coverage, Federal agreed to pay
  15 for “loss . . . directly resulting from . . . [t]he action of a Civil Authority that
  16 prohibits access to property or facilities.” Id., Extra Expense Coverage, § I.B.2.
  17              40.      Under the Delay Beyond Control extension coverage, Federal agreed to
  18 pay for “loss . . . directly resulting from . . . [d]elay caused by acts beyond
  19 [Paramount’s] control.” Id., Extra Expense Coverage, § I.B.4.
  20              41.      The Extra Expense section of the Policy defines “loss” as
  21                       any extra expenditure [Paramount] incur[s] in completing
  22                       an insured production over and above the expenditure
  23                       which, but for the happening of any one or more of the
  24                       occurrences specified in Paragraph I. INSURING
  25                       AGREEMENT above, would have been incurred in
  26                       completing said production.
  27 Id., Extra Expense § VI.1.
  28                                     THE COVID-19 PANDEMIC
                                                   11
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   1                       AND THE ENSUING CIVIL AUTHORITY ORDERS
   2              42.      In 2020, SARS-CoV-2 and the disease it causes, COVID-19, spread
   3 throughout the world, prompting the World Health Organization to declare a global
   4 pandemic.
   5              43.      As explained by the World Health Organization:
   6                       We know that the disease is caused by the SARS-CoV-2
   7                       virus, which spreads between people in several different
   8                       ways.
   9                       The virus can spread from an infected person’s mouth or
  10                       nose in small liquid particles when they cough, sneeze,
  11                       speak, sing or breathe. These particles range from larger
  12                       respiratory droplets to smaller aerosols.
  13                       Current evidence suggests that the virus spreads mainly
  14                       between people who are in close contact with each other,
  15                       typically within 1 metre (short-range). A person can be
  16                       infected when aerosols or droplets containing the virus are
  17                       inhaled or come directly into contact with the eyes, nose, or
  18                       mouth.
  19                       The virus can also spread in poorly ventilated and/or
  20                       crowded indoor settings, where people tend to spend longer
  21                       periods of time. This is because aerosols remain suspended
  22                       in the air or travel farther than 1 metre (long-range).
  23                       People may also become infected by touching surfaces that
  24                       have been contaminated by the virus when touching their
  25                       eyes, nose or mouth without cleaning their hands.17
  26
  27
       17
       See https://www.who.int/news-room/q-a-detail/coronavirus-disease-covid-19-
  28 how-is-it-transmitted.
                                          12
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   1              44.      Published reports state that the spread of SARS-CoV-2 is insidious
   2 because it can be readily transmitted by asymptomatic individuals—about 40% of
   3 all individuals who have COVID-19 are asymptomatic.18 Additionally, reports state
   4 that pre-symptomatic persons carry the greatest viral load (i.e., the quantity of virus
   5 in an individual’s system) among all infected persons, meaning their ability to
   6 transmit SARS-CoV-2 is greater than that of symptomatic persons.19
   7              45.      It is widely recognized that “confirmed” cases of COVID-19 do not tell
   8 the full story. Reports explain, for example, that many individuals with COVID-19
   9 are asymptomatic and therefore are not tested for the disease. Because of the initial
  10 absence of available tests, asymptomatic infections, and differential symptomatic
  11 diagnoses, researchers believe that the true number of individuals infected with
  12 SARS-CoV-2 in 2020 was significantly higher than the reported numbers might
  13 suggest.20
  14              46.      Published reports also state that aerosolized droplets exhaled by normal
  15 breathing can travel significant distances and stay suspended in the air and infective
  16
       18
  17      Ellen Cranley, 40% of people infected with COVID-19 are asymptomatic, a new
       CDC estimate says, BUSINESS INSIDER (July 12, 2020),
  18   https://www.businessinsider.com/cdc-estimate-40-percent-infected-with-covid-19-
  19   asymptomatic-2020-7.
       19
          Xi He, et al., Temporal dynamics in viral shedding and transmissibility of
  20   COVID- 19, 26 NATURE MED. 672, 674 (Apr. 15, 2020),
  21   https://www.nature.com/articles/s41591-020-0869-5 (“We detected high viral loads
       soon after symptom onset, which then gradually decreased towards the detection
  22   limit at about day 21. . . . Our analysis suggests that viral shedding may begin 5 to 6
  23   days before the appearance of the first symptoms. After symptom onset, viral loads
       decreased monotonically, consistent with two recent studies.”).
  24   20
          Smith-Schoenwalder, CDC Study: Coronavirus Infection Numbers May Be up to
  25   24 Times Higher Than Reported, U.S. NEWS (July 21, 2020),
       https://www.usnews.com/news/national-news/articles/2020-07-21/cdc-study-
  26   coronavirus-infection-numbers-may-be-up-to-24-times-higher-than-reported;
  27   Michael A. Johansson, et al., SARS-CoV-2 Transmission From People Without
       COVID-19 Symptoms, J. AM. MEDICAL ASS’N (Jan. 7, 2021),
  28   https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2774707.
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   1 for 16 hours, until gravity ultimately forces them on to the nearest surface.21 These
   2 reports and studies explain that SARS-CoV-2 spreads primarily through fine
   3 aerosolized viral droplets that are expelled into the air when infected individuals
   4 breathe, talk, sing, cough, or sneeze.
   5              47.      Scientists have likened the ubiquitous aerosolized droplets of the virus
   6 to smoke present in the air long after the source of its dissemination has gone. 22
   7 Thus, according to studies and reports, entering a location where the SARS-CoV-2
   8 virus is physically present in the air poses an imminent and severe risk to human
   9 health.
  10              48.      As of the filing of this Complaint, there have been more than
  11 216,229,741 confirmed cases of COVID-19 throughout the world with more than
  12 4,496,681 deaths.23 In the United States, there have been more than 38,875,807
  13 confirmed cases of COVID-19 with more than 637,356 deaths.24 Moreover, due in
  14 part to the initial absence of available tests, it has been reported that, at least in the
  15 United States, the number of people infected within SARS-CoV-2 in 2020 may be
  16 ten times higher than reported.25
  17              49.      Since the outbreak of SARS-CoV-2 and COVID-19, and in response to
  18 it, civil authorities throughout the world issued “stay-at-home” and “shelter-in-
  19 place” orders, travel restrictions, quarantines, and other orders, including orders
  20 requiring the suspension of non-essential business operations (collectively, “Closure
  21
  22   21
          See Leslie Tate, Virus Survives In Air For Hours, TULANIAN (Fall 2020),
  23   https://tulanian.tulane.edu/fall-2020/virus-survives-in-air-for-hours.
       22
          See Kimberly A. Prather, et al., Airborne Transmission of SARS-CoV-2,
  24   SCIENCE (Oct. 16, 2020), https://science.sciencemag.org/content/370/6514/303.2.
       23
  25      See https://covid19.who.int/.
       24
          See https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html.
  26   25
          Fiona P. Havers, et al., Seroprevalence of Antibodies to
  27   SARS-CoV-2 in 10 Sites in the United States, March 23-May 12, 2020, JAMA
       INTERNAL MEDICINE (July 21, 2020),
  28   https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/2768834.
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   1 Orders”).26 In relevant part, the Closure Orders required citizens to stay at home,
   2 prohibited large gatherings, and mandated the continued closure of all non-essential
   3 in-person businesses, including film productions.
   4              50.       Paramount suffered significant losses and damages covered by the
   5 Policy when it was forced to suspend and postpone production of Mission
   6 Impossible 7 due to Closure Orders affecting different filming locations, cast
   7 illnesses, and the need to protect cast and crew and its locations from exposure to
   8 SARS-CoV-2.
   9                       FEDERAL’S BREACHES AND WRONGFUL CONDUCT
  10              51.       Production on Mission Impossible 7 was originally scheduled to begin
  11 in Venice, Italy on February 24, 2020. On or about February 21, 2020, Paramount
  12 shut down production due to the illness of a covered person that prevented that
  13 individual from continuing to work. Paramount timely notified Federal of this loss.
  14              52.       Due to the covered person’s illness, filming was then reset to begin in
  15 Rome in March 2020. However, on March 8, 2020, the national government of Italy
  16 imposed a quarantine order that affected Venice, and then expanded it to all of Italy
  17 on March 9, 2020. For the second time, production on Mission Impossible 7 had to
  18 be rescheduled.
  19              53.       Production resumed in July 2020.
  20              54.       In October 2020, during production in Rome, an outbreak of COVID-
  21 19 among crew occurred along with potential exposure to other cast and crew
  22 members. Production on Mission Impossible 7 was then shut down for a third time.
  23              55.       To mitigate further loss in Rome, production moved to Venice in late
  24 October 2020. After production resumed on October 21, 2020, certain members of
  25 the crew and background extras tested positive for COVID-19. For the fourth time,
  26 production had to be suspended.
  27
       26
       See, e.g., The Council of State Governments, COVID-19 Resources for State
  28 Leaders, https://web.csg.org/covid19/executive-orders/.
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   1              56.      On February 13, 2021, production on Mission Impossible 7 was
   2 scheduled to begin in the United Kingdom. However, because of a surge of
   3 COVID-19 cases in the UK, and the proliferation of a more lethal and contagious
   4 variant of SARS-CoV-2 in the UK, production was suspended for the fifth time.
   5              57.      Production then resumed in Abu Dhabi. But before being able to return
   6 to complete production in the UK, the UK government required that all non-UK
   7 citizens quarantine for ten days upon entry. This requirement caused a sixth delay
   8 in production.
   9              58.      In June 2021, while filming in the UK, following more positive tests
  10 for COVID-19 among cast and crew, production was shut down for the seventh
  11 time.
  12              59.      Following each of the suspensions in production, Paramount timely
  13 notified Federal of the delay and the losses it would incur due to the interruptions
  14 and to reduce the possibility of additional covered claims. Paramount informed
  15 Federal that its losses included costs to move locations, restart production, and
  16 comply with COVID-19-related safety protocols.
  17              60.      Over the 18 months since production of Mission Impossible 7 was first
  18 shut down because of a covered cause of loss, Paramount provided Federal with
  19 information pertaining to its losses.
  20              61.      Ultimately, Federal contended that only part of Paramount’s claimed
  21 losses were covered under the Policy. Specifically, on July 1, 2020, Federal wrote to
  22 Paramount, stating that it would pay for the losses caused by the covered person’s
  23 illness in February 2020 subject to its adjustment of the submitted covered expenses.
  24 However, Federal stated that the $100,000,000 Cast coverage was not available for
  25 most of the remaining portions of Paramount’s losses. Federal claimed that
  26 Paramount’s losses arising from the pandemic, orders of civil authorities, and the
  27 need to mitigate could only be covered under the Policy’s Civil Authority coverage,
  28 and then that all the losses would be subject to a single $1,000,000 limit of liability.
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   1 Federal also asserted that the various suspensions and relocations constituted a
   2 single loss, despite having occurred in different locations at different times and
   3 because of different Closure Orders. Federal also refused to acknowledge that the
   4 costs to comply with COVID-19 safety protocols are insured under the Policy.
   5              62.      Federal also refused to pay for the losses incurred by Paramount when
   6 its cast and crew members tested positive for COVID-19 followed by a necessary
   7 shut down of production. Remarkably, Federal stated that there was no evidence
   8 that those cast and crew members could not continue their duties, despite being
   9 infected with SARS-CoV-2 and posing an undeniable risk to other individuals
  10 involved with the production.
  11              63.      Federal also stated, contrary to the guidance of the world’s leading
  12 health and medical authorities, that it did not see how incurring costs for COVID-
  13 19-related safety protocols, such as personal protective equipment, could reduce a
  14 covered loss.
  15              64.      By taking these positions, Federal has deprived Paramount of the full
  16 coverage to which it is entitled under its Policy, including under the Cast coverage,
  17 the Civil Authority extension of coverage, the Delay Beyond Control extension of
  18 coverage, the Due Diligence Clause, and the Loss Procedure condition, as well as
  19 the common law doctrine of mitigation.
  20              65.      Paramount is entitled to Cast coverage under the Policy for the losses
  21 incurred from the suspensions and delays in production of Mission Impossible 7, as
  22 well as the costs and losses it incurred and continues to incur in its reasonable
  23 efforts to minimize, prevent, and mitigate losses otherwise insured under the Policy.
  24 Production was postponed because of the widely reported dangers posed by SARS-
  25 CoV-2 and COVID-19, the issuance of the Closure Orders, and outbreaks of
  26 COVID-19 among its cast and crew. Paramount was also required “to avoid or
  27 diminish a loss or circumstance that may give rise to a loss or damage.” By halting
  28 production, Paramount did exactly that.
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   1              66.      On or about July 19, 2021, Federal paid $5,000,000 for the losses
   2 associated with the covered person’s illness in February 2020. Federal asserted
   3 that this payment was a partial payment for Cast coverage. Paramount accepted this
   4 payment as mitigation of its damages and without waiving any of its rights. To date,
   5 Federal has refused to pay any more towards Paramount’s losses, even though
   6 Paramount’s losses far exceeded this amount as of the filing of this Complaint.
   7                                     FIRST CAUSE OF ACTION
   8                                         (Breach of Contract)
   9              67.      Paramount realleges and incorporates by reference paragraphs 1
  10 through 66 above.
  11              68.      By acting as alleged above and by failing and refusing to pay
  12 Paramount for the full amount of its losses under each applicable coverage, Federal
  13 breached its duties under the Policy.
  14              69.      As a direct and proximate result of Federal’s breaches, Paramount has
  15 sustained, and continues to sustain, damages in an amount to be proven at trial
  16 above this Court’s jurisdictional limit.
  17                                   SECOND CAUSE OF ACTION
  18                (Breach of the Implied Covenant of Good Faith and Fair Dealing)
  19              70.      Paramount realleges and incorporates by reference paragraphs 1
  20 through 69 above.
  21              71.      Implied in the Policy is a covenant that Federal would act in good faith
  22 and deal fairly with Paramount, that Federal would not interfere with the rights of
  23 Paramount to receive benefits due under the Policy, and that Federal would give at
  24 least the same level of consideration to Paramount’s interests as it gave its own
  25 interests.
  26              72.      Federal also had a duty under the Policy, the law, and insurance
  27 industry custom, practice, and standards to honor the terms of insurance promised
  28 under the Policy.
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   1              73.      Instead of complying with these duties, Federal acted in bad faith by,
   2 among other things,
   3                       a) attempting to restrict the insurance available under the Policy to
   4                          only that insurance available under the Civil Authority coverage for
   5                          a single loss;
   6                       b) insisting that Paramount’s losses under the Policy do not include the
   7                          costs to comply with COVID-19 safety protocols;
   8                       c) failing to promptly conduct a full and thorough investigation of the
   9                          bases that would support Paramount’s claim for coverage;
  10                       d) creating and implementing a pattern and course of action to restrict
  11                          coverage for Paramount’s losses and to pay less for those losses
  12                          than it is obligated to pay under the Policy;
  13                       e) unreasonably failing and refusing to honor its promises and
  14                          representations in the Policy;
  15                       f) unreasonably refusing to pay the full amount due under the Policy;
  16                       g) putting its interests above those of Paramount; and
  17                       h) otherwise acting as alleged above.
  18              74.      In breach of the implied covenant of good faith and fair dealing,
  19 Federal did the things and committed the acts alleged above for the purpose of
  20 consciously withholding from Paramount the rights and benefits which it was, and
  21 is, entitled to under the Policy.
  22              75.      Federal’s acts are inconsistent with the reasonable expectations of
  23 Paramount, are contrary to the express and implied terms of the Policy, and
  24 constitute bad faith.
  25              76.      As a direct and proximate result of Federal’s breach of the implied
  26 covenant of good faith and fair dealing, Paramount has sustained, and continues to
  27 sustain, damages in an amount to be proven at trial. Paramount is also entitled to
  28 recover all attorneys’ fees that it reasonably incurred, and continues to incur, in its
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   1 efforts to obtain the benefits due under the Policy that Federal wrongfully withheld,
   2 and is withholding, in bad faith. Paramount is further entitled to interest thereon at
   3 the maximum legal rate. Paramount continues to suffer damages because of
   4 Federal’s bad faith.
   5              77.      Paramount is informed and believes, and on that basis alleges, that
   6 Federal—acting through one or more of its officers, directors, or other corporate
   7 employees with substantial independent discretionary authority over significant
   8 aspects of Federal’s business—performed, authorized, and/or ratified the bad faith
   9 conduct alleged above.
  10              78.      Federal’s conduct is contemptible and has been done with a conscious
  11 disregard of Paramount’s rights, constituting oppression, fraud, and/or malice.
  12 Federal has engaged in a series of acts designed to deny Paramount the benefits due
  13 under the Policy. Specifically, Federal, by acting as alleged above, consciously
  14 disregarded Paramount’s rights and forced Paramount to incur substantial financial
  15 losses, thereby inflicting substantial financial damage. Federal ignored Paramount’s
  16 interests and concerns with the requisite intent to injure under California Civil Code
  17 section 3294. Paramount is therefore entitled to recover punitive damages from
  18 Federal in an amount sufficient to punish Federal and to deter similar conduct in the
  19 future.
  20                                        PRAYER FOR RELIEF
  21              WHEREFORE, Paramount prays for relief as follows:
  22                                ON THE FIRST CAUSE OF ACTION
  23              1.       For damages, plus interest, according to proof at the time of trial;
  24                              ON THE SECOND CAUSE OF ACTION
  25              2.       For damages, including attorneys’ fees, plus interest, according to proof
  26 at the time of trial;
  27              3.       For punitive damages in an amount to be determined at the time of trial;
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   1                                   ON ALL CAUSES OF ACTION
   2              4.       For the costs of this lawsuit; and
   3              5.       For such other, further, and/or different relief as may be deemed just
   4 and proper.
   5
   6 DATED: August 30, 2021                        Kirk Pasich
                                                   Anamay M. Carmel
   7                                               Caitlin S. Oswald
   8                                               PASICH LLP
   9
                                                By: /s/ Kirk Pasich
  10                                                Attorneys for Plaintiff
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   1                                 DEMAND FOR JURY TRIAL
   2              Plaintiff Paramount Pictures Corporation hereby demands a trial by jury in
   3 this action.
   4
   5 DATED: August 30, 2021                       Kirk Pasich
                                                  Anamay M. Carmel
   6                                              Caitlin S. Oswald
   7                                              PASICH LLP
   8
                                            By:        /s/ Kirk Pasich
   9                                              Attorneys for Plaintiff
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